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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :   MAGISTRATE NO. 21-MJ-096
                                                  :
              v.                                  :
                                                  :
 MATTHEW CARL MAZZOCCO,                           :   VIOLATIONS:
                                                  :   18 U.S.C. § 1752(a)(1)
                       Defendant.                 :   (Entering and Remaining in a Restricted
                                                  :   Building)
                                                  :   18 U.S.C. § 1752(a)(2)
                                                  :   (Disorderly and Disruptive Conduct in a
                                                  :   Restricted Building)
                                                  :   40 U.S.C. § 5104(e)(2)(D)
                                                  :   (Violent Entry and Disorderly Conduct in
                                                  :   a Capitol Building)
                                                  :   40 U.S.C. § 5104(e)(2)(G)
                                                  :   (Parading, Demonstrating, or Picketing in
                                                  :   a Capitol Building)

                                     INFORMATION

       The United States Attorney charges that:

                                        COUNT ONE

       On or about January 6, 2021, within the District of Columbia, MATTHEW CARL

MAZZOCCO, did knowingly enter and remain in the United States Capitol, a restricted building,

without lawful authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))

                                        COUNT TWO

       On or about January 6, 2021, within the District of Columbia, MATTHEW CARL

MAZZOCCO, knowingly, and with intent to impede and disrupt the orderly conduct of

Government business and official functions, engaged in disorderly and disruptive conduct in and

within such proximity to, the United States Capitol, a restricted building, when and so that such
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conduct did in fact impede and disrupt the orderly conduct of Government business and official

functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))

                                         COUNT THREE

       On or about January 6, 2021, within the District of Columbia, MATTHEW CARL

MAZZOCCO, willfully and knowingly engaged in disorderly and disruptive conduct in any of

the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session

of Congress or either House of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))

                                          COUNT FOUR

       On or about January 6, 2021, within the District of Columbia, MATTHEW CARL

MAZZOCCO, willfully and knowingly paraded, demonstrated, and picketed in a Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                               Respectfully submitted,

                                               MICHAEL R. SHERWIN
                                               Acting United States Attorney
                                               N.Y. Bar No. 4444188

                                       By:
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